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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO


  WARNER BROS. RECORDS INC., et
  al.,
        Plaintiffs,
                                           Civil Action No. 19-cv-00874-RBJ-
  v.                                       MEH
  CHARTER COMMUNICATIONS, INC.,

        Defendant.



   DEFENDANT CHARTER COMMUNICATIONS, INC.’S OBJECTION TO
       RECOMMENDATION BY MAGISTRATE JUDGE TO DENY
      CHARTER’S MOTION TO DISMISS PLAINTIFFS’ CLAIM FOR
                    VICARIOUS LIABILITY
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         Defendant Charter Communications, Inc. (“Charter”), by and through its

   attorneys Fairfield and Woods, P.C. and Winston & Strawn, LLP, hereby objects to

   the October 21, 2019 Recommendation to deny Charter’s motion to dismiss

   Plaintiffs’ claim for vicarious liability by Magistrate Judge Hegarty (the

   “Recommendation”), and as grounds therefor states as follows:

   I.    INTRODUCTION
         Charter respectfully requests that the Recommendation be overruled for at

   least one of the following two reasons. First, the Recommendation reflects a

   fundamental misapplication of the financial benefit prong of vicarious copyright

   liability. It holds that Plaintiffs’ allegations against an internet service provider

   (“ISP”), like Charter here, could plausibly satisfy the pleading standard for this

   prong based on allegations that Charter advertised fast speed (like every ISP) and

   charged customers for increasing bandwidth (like every ISP). But any financial

   benefit sufficient to establish this prong of vicarious liability must be direct, not

   merely incidental. The allegations set forth in Plaintiffs’ Complaint and relied on in

   the Recommendation are insufficient, even if true, to show a direct financial benefit.

   Charter earns the same amount of money for a subscription, commensurate with the

   level of bandwidth, regardless of whether a subscriber accesses the internet for

   lawful or infringing uses. Plaintiffs’ Complaint is bereft of any specific allegations

   that users were drawn to Charter’s services to infringe Plaintiffs’ copyrights, as
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   opposed to efficiently access the internet, including to access music generally, which

   of course, users can do lawfully. Under long-standing precedent, this renders any

   financial benefit from any alleged infringement incidental, not direct, and thus

   insufficient as a matter of law to satisfy the financial benefit prong of vicarious

   liability. By relaxing the direct financial benefit prong to something far more

   attenuated than what is required, the Recommendation threatens to open the

   floodgates for massive liability against ISPs for merely advertising and making

   available high speed internet to the general public.

         Second, the Recommendation also implausibly presumes that Charter has the

   practical ability to halt the alleged infringements, based solely on allegations that its

   user agreement allows Charter to terminate internet access for violation of its

   policies. Charter does not host the allegedly infringing content, but merely provides

   a pipe to connect subscribers to the internet. Thus, Charter cannot access or disable

   any allegedly infringing content and the Complaint does not allege otherwise.

   Plaintiffs’ suggestion, adopted in the Recommendation, that Charter should have

   simply responded to each notice by terminating internet access altogether is also a

   drastic measure that would cut off internet access not only for the accused infringer

   but for everyone else using the internet through that subscriber’s account. The

   Recommendation’s proposed termination of internet access would take place before

   any copyright infringement is proved, and regardless of the extent to which


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   legitimate use occurs through the same account. Indeed, Charter’s subscribers

   include businesses, libraries, universities, military bases, families and others where

   only one or a small fraction of affected internet users (e.g., those who would have

   their internet access terminated) might have used such access to infringe copyrights.

   Termination of internet access is a blunt tool. It does not give Charter the practical

   ability to control any alleged infringement, as it cannot prevent Charter’s customers

   (or those who used Charter’s customers’ accounts to allegedly infringe) from finding

   internet access to infringe elsewhere.

         For the reasons stated herein, Charter respectfully objects to the

   Recommendation, and requests that the District Court grant Charter’s motion to

   dismiss Plaintiffs’ claim for vicarious liability.

   II.   LEGAL STANDARD
         As Charter’s motion was brought pursuant to Rule 12(b)(6) of the Federal

   Rules of Civil Procedure, “[t]o survive,” Plaintiffs’ Complaint “must contain

   sufficient factual matter, accepted as true, to “state a claim” for relief that “is

   plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

   Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “Threadbare recitals of the elements

   of a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal,

   556 U.S. at 678. Courts “are not bound to accept as true a legal conclusion couched

   as a factual allegation.” Twombly, at 555 (quoting Papasan v. Allain, 478 U.S. 265,


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   286 (1986)). “The allegations must be enough that, if assumed to be true, the

   plaintiff plausibly (not just speculatively) has a claim for relief.” Robbins v. Okla. ex

   rel. Okla. Dep’t of Human Servs., 519 F.3d 1242, 1247 (10th Cir. 2008).

          Here, in denying Charter’s motion to dismiss, the Recommendation relies on

   allegations 1 that fail, as a matter of law, to set forth sufficient facts to establish the

   requisite elements for vicarious liability.

   III.   THE COURT SHOULD OVERRULE THE RECOMMENDATION
          A.      Allegations That an ISP Merely Advertised and Charged for High
                  Speed Internet Service Does Not Satisfy the Financial Benefit
                  Prong of Vicarious Copyright Infringement
          Courts have long held that in order to satisfy the first prong of vicarious

   liability, a defendant must profit directly, rather than incidentally, from the alleged

   infringements. Plaintiffs allege that Charter advertised its “high speed” internet

   service as “enable[ing] subscribers to ... download 8 songs in 3 seconds.” (Rec. at

   11; Compl. ¶ 75.)         The Complaint further alleges that “[m]any of Charter’s

   customers are motivated to subscribe to Charter’s service because it allows them to

   download music and other copyrighted content—including unauthorized content—

   as efficiently as possible.” (Compl. ¶ 75.)              Of course, being “motivated” to



   1
    Even though Charter’s Motion is brought pursuant to Rule 12(b)(6), which requires assessing the
   sufficiency of the allegations in the Complaint, the Recommendation does not cite to Plaintiffs’
   Complaint. Instead, the Recommendation only cites Plaintiffs’ allegations as characterized in
   Plaintiffs’ Opposition to Charter’s Motion to Dismiss, which in multiple cases, as noted herein, is
   not an accurate recitation of what is actually alleged in the Complaint.

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   “download music” as “efficiently as possible” does not equate to being “drawn” to

   Charter’s internet services to infringe, as there are many lawful means to download

   copyrighted music such as through authorized services like iTunes. This allegation

   as set forth in the Complaint does not even say that users are actually drawn to

   Charter’s service to download unauthorized content, but merely that Charter’s

   service would “allow” the downloading of music, which would “include[e][]

   unauthorized content.” (Id.) Nevertheless, the Recommendation relies on the

   allegation that these advertisements “motivated” some unnamed subset of Charter’s

   users to subscribe to Charter. (Id. at 9-11.) These allegations utterly fail to establish

   that infringing activity was a draw to subscribe to Charter’s service.

          The Recommendation also relies on Plaintiffs’ purported allegations about the

   efficiency of infringing through “BitTorrent” programs that are generally available

   on the internet, but which Charter has nothing to do with. (Rec. at 3-4.) The

   Recommendation relies on the allegation that some users accessing the internet

   through Charter subscriptions have used such service to “pirate” 2 Plaintiffs’ works

   (Rec. at 11), and Plaintiffs’ alleged identification between 2012 and 2015 of

   “hundreds of thousands” of instances in which users that were traced to Charter’s




   2
    The word “pirate,” though quoted in the Recommendation, does not appear in Plaintiffs’
   Complaint, but appears repeatedly in Plaintiffs’ Opposition to Charter’s Motion to Dismiss.

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   subscriber accounts used Charter’s high speed internet service to distribute

   Plaintiffs’ songs.

         The Recommendation also relies on Plaintiffs’ characterization of its

   allegation as set forth in its Opposition (ECF 50 at 12) that “once [Charter’s]

   subscribers realized that [Charter] did not intend to stop or control the infringement,”

   the subscribers were encouraged to “purchase more bandwidth” which meant more

   subscription fees for Charter. (Rec. at 12.) But Plaintiffs’ Complaint does not

   actually allege this; rather it merely alleges that “Charter’s customers, in turn,

   purchased more bandwidth and continued using Charter’s services to infringe

   Plaintiffs’ copyrights,” because Charter “condoned” the illegal activity. (See Compl.

   at ¶ 77.) The Complaint does not allege that because Charter’s subscribers realized

   that Charter did not “stop or control the infringement” such subscribers then

   purchased more bandwidth. Nevertheless, the Recommendation found these purely

   speculative “allegations”—never actually alleged in the Complaint—“sufficient to

   demonstrate a causal relationship between the infringing activity alleged in this case

   and any financial benefit the [Charter] reaps in this case.” See Perfect 10, Inc. v.

   Giganews, Inc., 847 F.3d 657, 673 (9th Cir. 2017).

         There are also no allegations that infringing material, much less unauthorized

   access to Plaintiffs’ alleged works, acted as a draw to subscribe to Charter’s internet

   service. Indeed, there is no allegation (nor could there be) that Charter would have


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   earned any less in subscriber fees for the legitimate uses of high-speed internet as

   opposed to any infringing use through the same account. For instance, many

   accounts are paid for by a business, a library, a military base, or a family.

   Subscribers and users of those accounts have used Charter’s high speed internet

   service for countless legitimate purposes that are vital to how our society functions

   today—from information gathering, to work purposes, to education, to emergency

   services, to social interaction. Charter charges the same price to subscribers

   regardless of whether some subset of a subscriber’s users allegedly use their Charter

   internet access to infringe Plaintiffs’ works. (See Comp. at ¶ 74.) Plaintiffs do not

   allege otherwise. Id. This renders any financial connection between Charter’s

   subscribers and the alleged infringement attenuated and indirect, and insufficient to

   plausibly satisfy the financial benefit prong of vicarious liability.

         Despite a detailed discussion in Charter’s motion to dismiss (ECF 38 at pp. 7-

   10 (footer)) (the “Motion”), the financial benefit analysis in the Recommendation

   makes no mention of the fundamental principles from which vicarious liability

   originated—clearly articulated in dance hall and swap meet cases that show that

   courts have consistently applied these same principles over the last fifty years. The

   vicarious liability copyright cases began with Shapiro, Bernstein & Co. v. H. L.

   Green Co., 316 F.2d 304, 309-310 (2d Cir. 1963), where the court found no

   sufficient direct financial benefit by a landlord who provided the space and access


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   to property yet collected the same amount of rent from tenants regardless of the

   allegedly infringing activity taking place on the premises. Conversely, a dance hall

   operator who was taking advantage of the use of infringing music was sufficiently

   obtaining a direct financial benefit.

         More recently, Coach, Inc. v. Swap Shop, Inc., 2012 WL 12887010, at *8

   (S.D. Fla. Sept. 21, 2012) articulated the difference between a direct financial benefit

   and an indirect one. The Swap Shop court found on the one hand that a swap meet

   operator who organized the retailers selling knock off purses was sufficiently alleged

   to have a direct financial benefit from infringement through obtaining rents directly

   from the known infringer vendors, as well as increased parking and concession fees

   fueled by the sale of known infringing purses. Id. On the other hand, the landlord

   of the swap meet—who earned the same amount of money in rent for infringing and

   non-infringing uses, and was not directly supervising the infringing activities—was

   found to not have a direct financial benefit from the infringing activity. Id.

         By failing to acknowledge these cases and their import for the direct financial

   benefit prong of vicarious liability, the Recommendation misconstrues the basic

   principles of vicarious liability. It instead essentially carves out a new, lesser

   standard for the direct financial benefit prong at odds with the jurisprudence that has

   been consistently applied across the nation for decades, and more recently to ISPs.

   See Ellison v. Robertson, 357 F.3d 1072, 1079 n.10 (9th Cir. 2004) (an ISP must


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   attract subscriptions “because of” the infringement to establish a direct financial

   benefit); Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1117-18 (9th Cir. 2007)

   (finding no vicarious liability because evidence that “[defendant] ‘hosts’ websites

   for a fee” was too sparse to show a direct financial benefit and thus not “a draw” to

   subscribers); UMG Recordings, Inc. v. Veoh Networks Inc., 2009 WL 334022, at *6

   (C.D. Cal. Feb. 2, 2009), aff’d sub nom. UMG Recordings, Inc. v. Shelter Capital

   Partners LLC, 667 F.3d 1022 (9th Cir. 2011), opinion withdrawn, superseded, and

   aff’d on reh’g, 718 F.3d 1006 (9th Cir. 2013) (dismissing vicarious liability claim

   where financial benefit was too attenuated to be direct); Thomson v. HMC Grp., 2014

   WL 12589313, at *4 (C.D. Cal. July 25, 2014) (dismissing vicarious liability claim

   where infringing content was not the draw for defendant’s patients).

         While the Recommendation does cite Perfect 10 with respect to its draw

   analysis, it misapplies it. (Rec. at 9.) Critically, the infringing activity must be more

   than an “added benefit” to a subscription; it must be the attracting factor, or the

   “draw” for subscribers. Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 674 (9th

   Cir. 2017), cert. denied, 138 S. Ct. 504, 199 L. Ed. 2d 385 (2017).

         An ISP charging for high speed internet—or digital access— is analogous to

   the landlords in Shapiro and Coach, who are paid for the commensurate amount of

   physical space that they provide regardless of whether copyright infringement occurs

   in that space. Charter, like any ISP, earns the same amount from subscribers,


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   including higher payments for increased bandwidth speeds (analogous to higher rent

   for larger physical space), regardless of whether the customer uses the internet

   access purchased through Charter to infringe. This is true no matter how much

   bandwidth a customer purchases—it does not affect Charter’s revenues whether a

   subscriber (or others using that subscriber’s internet access) uses the internet to

   infringe copyrights, and/or for legitimate purposes, such as to seek out information,

   for education, to find news, to perform job searches, to complete work tasks, to

   communicate, and for other social and entertainment uses, including the lawful

   downloading of music.

         The Recommendation also relies on Perfect 10 for the proposition that the

   “[t]he size of the ‘draw’ relative to a defendant’s overall business is immaterial” and

   that “[t]he essential aspect of the ‘direct financial benefit’ inquiry is whether there is

   a causal relationship between the infringing activity and any financial benefit a

   defendant reaps, regardless of how substantial the benefit is in proportion to a

   defendant’s overall profits.” Id. But the Perfect 10 court goes on to explain that the

   allegation must be about a draw specifically relating to the plaintiff’s work at issue—

   and cannot be a draw based upon “copyright infringement in general.” Id. As the

   court explained, the direct financial benefit prong of the vicarious infringement test

   “demands more than evidence that customers were ‘drawn’ to [the defendant ISP]




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   to obtain access to infringing material in general,” but for a “specific copyrighted”

   work owned by the plaintiff. Id.

         At best, Plaintiffs’ allegation regarding Charter’s customers “motivation” to

   subscribe to Charter’s internet service is that users were drawn to Charter to

   efficiently download music, which may generally include copyrighted music.

   Specifically, Plaintiffs allege that “[m]any of Charter’s customers are motivated to

   subscribe to Charter’s service because it allows them to download music and other

   copyrighted content—including unauthorized content—as efficiently as possible.”

   (Compl. ¶ 75 (emphasis added).) There is no allegation that a subscriber was

   “motivated” to subscribe to Charter’s internet service to specifically infringe any of

   Plaintiffs’ copyrighted works. Conclusory, speculative allegations of a “draw” are

   not enough to be plausible. See Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 570.

         The Recommendation further relies on Tomelleri’s statement that “[t]he

   financial benefit may be established [ ] ‘by showing that users are attracted to a

   defendant’s product because it enables infringement and that [] use of the product

   for infringement financially benefits the defendant.’” Tomelleri v. Zazzle, Inc., No.

   13-CV-02576-EFM-TJJ, 2015 WL 8375083, at *15 (D. Kan. Dec. 9, 2015)

   (emphasis added). Tomelleri found there was no draw under the financial benefit

   prong where a fish illustrator sued a website operator that allowed users to create

   and sell customized products. Id. at *3-4. The plaintiff alleged that sixty-two of his


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   designs had been copied on the defendant’s website without his authorization. Id. at

   *4. But even in a case where the website was offering the very tools to facilitate the

   alleged infringement, Tomelleri found no direct financial benefit existed because

   users were not “drawn” to the site because they could infringe, but because they

   could make their own products. Id. at *15.

         Likewise, here, there are no plausible allegations that subscribers are drawn

   to Charter’s high speed internet service to infringe Plaintiffs’ copyrights; they are

   drawn to Charter’s internet service to obtain high speed internet that assists with

   nearly every facet of their life. The fact that such access could also make music

   downloading faster in general, which could incidentally make infringement occur

   faster (as it would make nearly everything online operate faster), is not enough to

   plausibly allege that the financial benefit to Charter from any infringements is direct.

   Instead, any such alleged benefit is merely an incidental, added benefit that flows

   from the general draw of high speed internet access. And even if Plaintiffs had

   alleged a plausible “draw” (which they have not), once again, the “use of the

   product”—Charter’s high speed internet—“for infringement” does not “financially

   benefit[] the defendant,” as Charter’s receipt of monthly subscription fees is the

   same regardless of whether the access it provides is used in part to infringe

   copyrights. Id.




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         The Recommendation cites the Ellison case in analyzing the financial benefit

   prong, but omits the following explanation from Ellison:

               There are, however, cases in which customers value a
               service that does ‘not act as a draw.’ Accordingly,
               Congress cautions courts that ‘receiving a one-time
               set-up fee and flat periodic payments for service…
               [ordinarily] would not constitute receiving a ‘financial
               benefit directly attributable to the infringing activity.’
               S Rep. 105-190, at 44. But ‘where the value of the
               service lies in providing access to infringing material,’
               courts might find such a ‘one-time set-up and flat
               periodic’ fees to constitute a direct financial benefit. Id.
               at 44-45. Thus, the central question of the ‘direct
               financial benefit’ inquiry in this case is whether
               infringing activity constitutes a draw for subscribers,
               not just an added benefit.
   Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2004) (emphasis added).

         This case is precisely the type that Congress cautioned about. There are no

   plausible allegations that the value of Charter’s high speed internet access lies in

   infringing activity. Any infringement would be an “added benefit” to the value of

   internet access for consumers—not a draw. Ellison also discusses a distinction

   highly pertinent to this case between the “draw” of customers to Napster and AOL.

   Distinguishing A & M Records v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001)

   (Napster II)—Ellison noted that virtually “all of Napster’s ‘draw’ of customers

   resulted from Napster providing access to infringing material” and the “relatively

   insignificant draw” present when considering the “vast array of products and

   services” offered by the defendant AOL. 357 F.3d at 1078. Because there was

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   nothing to support the allegation that “AOL attracted or retained subscriptions

   because of the infringement or lost subscriptions because of AOL’s eventual

   obstruction of the infringement,” the plaintiffs’ vicarious liability claim failed. Id. at

   1079. Similarly, here, the vast array of uses and services available to Charter’s

   customers through its high speed internet offerings likewise renders any “draw”

   from infringement “relatively insignificant.” Id. at 1078.

         UMG Recordings, Inc. v. Grande, 2018 WL 1096871, at *10 (W.D. Tex. Feb.

   28, 2018) (“Grande”) dismissed the plaintiffs’ vicarious liability claim, explaining

   that when considering the “plausible, non-conclusory allegations” of the complaint:

                The closest that the Complaint comes to addressing this
                issue is the allegation that ‘the availability of music, and
                particularly UMG’s music—acts as a powerful draw for
                users of Grande’s service, who use that service to
                download infringing music files using BitTorrent
                protocols…’ This is not sufficient to show the ‘direct
                financial interest’ necessary to support a vicarious
                infringement claim. There are no allegations that
                Grande’s actions in failing to adequately police their
                infringing subscribers is a draw to subscribers to
                purchase its services, so that they can use those services
                to infringe on UMG’s (and others) copyrights. Instead
                UMG only alleges that the existence of music and the
                BitTorrent protocol is the draw. But that would impose
                liability on every ISP, as the music at issue is available
                on the Internet generally, as is the BitTorrent
                protocol, and it is not something exclusively available
                through Grande’s services.
   Id. (emphasis added).



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          While the very same concerns apply here, the Recommendation attempts to

   distinguish Grande on the grounds that there were “no allegations that Grande’s

   actions in failing to adequately police their infringing subscribers is a draw to

   subscribers to purchase its services.”     Here, the Recommendation notes that

   Plaintiffs alleged that Charter’s “failure to stop or take other action in response to

   notices of infringement is a draw to current and prospective subscribers to purchase

   and use Charter’s internet service to ‘pirate’ Plaintiffs’ copyrighted works,” though

   such allegations are found nowhere in the Complaint. And the only remotely similar

   allegations in ¶ 91 are entirely conclusory and speculative. Iqbal, 556 U.S. at 678;

   Twombly, 550 U.S. at 555.

          Plaintiffs have not plausibly alleged the direct financial benefit prong of

   vicarious liability.

          B.     Charter Does Not Have the Practical Ability to Control the
                 Infringing Activity Necessary to Satisfy the Second Prong of
                 Vicarious Liability
          With respect to the right and ability to control the infringing activity as a

   practical matter, the Recommendation relies solely upon Charter’s user policy,

   which contractually provides Charter the right to terminate accounts accused of

   infringement. The Recommendation finds that even after receiving multiple notices,

   Charter “declin[ed] to exercise a right to stop or limit the infringing activity...”

   (citing Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930


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   (2005)). There are no (and could be no) allegations, however, that Charter could

   have accessed or disabled the infringing content, or prevented those using its internet

   services from simply infringing on another internet service.

         Even crediting Plaintiffs’ allegations that Charter has the “right” to terminate

   subscriber’s access to Charter’s service, that does not mean that Charter has the

   practical ability to control infringing activity, as required to state a claim for

   vicarious liability. It is not possible for Charter to control infringing activity

   involving content that it never touches, cannot see, cannot disable, and cannot track.

   The Recommendation does not analyze these facts in connection with this claim, but

   instead focuses solely on Charter’s ability to terminate accounts. But with internet

   access being ubiquitous, Charter is clearly unable to prevent any former customer—

   or one user or some subset of users on that customer’s account—from simply finding

   another source of internet access to continue infringing Plaintiffs’ works.

         The Recommendation also makes no mention of courts analyzing this element

   that specifically distinguish between general-purpose ISPs like Charter or Google

   and “closed system” file-sharing protocols and websites like BitTorrent or Napster.

   See, e.g., Perfect 10 v. Amazon.com, 508 F.3d 1146, 1157 (9th Cir. 2007). For

   instance, in Amazon.com, the Ninth Circuit held that because:

                Napster had a closed system requiring user registration,
                and could terminate its users’ accounts and block their
                access to the Napster system, Napster had the right and
                ability to prevent its users from engaging in the

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                 infringing activity of uploading file names and
                 downloading Napster users’ music files through the
                 Napster system.
   Id.

          In contrast, the court found that an ISP like Google that simply offers internet

   service and provides users the freedom to use that access as they see fit, had no such

   ability—and therefore no liability. Id. at 1174-1175. While the court recognized

   that Google had the ability to curtail some infringement indirectly by terminating

   accounts, that ability was insufficient to establish vicarious liability as it did not

   exercise the supervisory powers required to establish the claim. Id. at 1174 (“Google

   cannot stop any of the third-party websites from reproducing, displaying, and

   distributing unauthorized copies of Perfect 10’s images because that infringing

   conduct takes place on the third-party websites. Google cannot terminate those third-

   party websites or block their ability to host and serve infringing full-size images on

   the [i]nternet.”)

          That distinction is squarely relevant here, but overlooked by the

   Recommendation. Unlike with closed systems, Plaintiffs cannot plausibly allege

   that Charter has the practical ability to identify and police infringing activity on the

   internet. The Recommendation does not address this line of cases, again striking a

   new path that threatens to expand potential liability exponentially for general

   purpose ISPs, who simply provide access to the internet.


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         The Recommendation relies on BMG Rights Management v. Cox

   Communications, 149 F. Supp. 3d 634 (E.D. Va. Dec. 1, 2015) and Grande,

   decisions that focused almost exclusively on the “right” to control as set forth in user

   agreements. Those cases found the “practical ability to control” to be the ability to

   terminate entirely the internet access of accounts accused of infringement, without

   regard for whether such action would actually halt the infringement (given that

   presumably an infringer could continue to do so elsewhere), and without regard to

   what legitimate uses it would inevitably also be terminating.

         Courts “are not bound to accept as true a legal conclusion couched as a factual

   allegation.” There is no plausible theory that Charter has the practical ability to

   control the infringing activity, offering an independent basis to overrule the

   Recommendation and grant Charter’s motion to dismiss.

   IV.   CONCLUSION
         WHEREFORE           Charter    requests     that   this   Court   overrule    the

   Recommendation, and grant Charter’s motion to dismiss Plaintiffs’ claim for

   vicarious liability for copyright infringement.

         Given the import of the legal issues presented, Charter also once again

   respectfully requests oral argument on this matter.

         Respectfully submitted this 4th day of November, 2019

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                               CERTIFICATE OF SERVICE

         I certify that on November 4, 2019, a true and correct copy of the foregoing

   was filed with the Court via CM/ECF which will send a notice of electronic filing

   to the parties of record.



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